                              Case 14-50333-gs         Doc 503   Entered 07/08/19 15:40:36     Page 1 of 1



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                          5    Attorney for Jeri Coppa-Knudson, Trustee
                          6                            UNITED STATES BANKRUPTCY COURT
                          7                                      DISTRICT OF NEVADA
                          8    IN RE:                                      CASE NO.      BK-N-14-50333-gs
                          9    ANTHONY THOMAS and                          CASE NO.      BK-N-14-50331-gs
                               WENDI THOMAS,
                        10                                                 (Jointly Administered)
                               AT EMERALD, LLC,
                        11                                                 CHAPTER       7
                                               Debtors.
                        12
                                                                           WITNESS LIST
                        13
                                                                           EXHIBIT LIST
                        14
                                                                           Hearing Date:     July 19, 2019
                        15                                                 Hearing Time:     1:00 p.m.
                        16                                             /
                        17              Witness List
                        18                     Trustee Jeri Coppa-Knudson will call Hudson Stremmel as a witness.
                        19              Exhibit List
                        20                     DE 478-1      E-mails December 2014 - Draft MSA
                        21                     DE 478-2      E-mails March 17, 2015 - Draft MSA
                        22                     DE 478-3      E-mails March 24, 2015 - Draft MSA
                        23              DATED: July 8, 2019.
                        24                                                 HARTMAN & HARTMAN
                        25
                                                                           /S/ Jeffrey L. Hartman
                        26                                                 Jeffrey L. Hartman, Esq., for
                                                                           Trustee Jeri Coppa-Knudson
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